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 8                        UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
10                     (HONORABLE JANIS L. SAMMARTINO)
11
12   UNITED STATES OF AMERICA,                    CASE NO.: 20-cr-02509-JLS-01
13                      Plaintiff,
14         v.                                     ORDER TO CONTINUE MOTION
                                                  HEARING/TRIAL SETTING; AND
15   MIGUEL OJEDA AGUNDEZ,                        EXCLUDE TIME UNDER SPEEDY
                                                  TRIAL ACT
16                      Defendant.
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18         Pursuant to joint motion, IT IS HEREBY ORDERED that Mr. Ojeda

19   Agundez’s Motion Hearing/Trial Setting currently scheduled for May 7, 2021 at

20   1:30 p.m. be continued to June 25, 2021 at 1:30 p.m.

21         For the reasons set forth in the joint motion, the Court finds that time is

22   excludable and that the ends of justice served by granting the requested continuance

23   outweigh the best interest of the public and the defendant in a speedy trial.

24          SO ORDERED.

25   Dated: May 5, 2021
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